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                                    November 9, 2020


Via ECF                                                                Application granted.
Honorable Ronnie Abrams
United States District Judge
Southern District of New York                                          SO ORDERED.
40 Foley Square
New York, New York 10007
                                                                       __________________________
              Re:    United States v. Ajit and Gulsahil Singh
                                                                       Ronnie Abrams, U.S.D.J.
                           19 Cr. 00339 (RA)
                                                                       November 9, 2020
Dear Judge Abrams:

        As Your Honor is aware, the defendants have been sentenced to time-served. In light
of their bail conditions set in December of 2019, both defendants are presently encumbered
with an electronic monitoring bracelet, and have surrendered their Indian Passports. Given
this Court’s sentence, and intentions of both defendants to return to their home in India on
Wednesday, November 11, we respectfully request that the Court modify their bail
conditions and instruct Pre-Trial Services to remove their “bracelets” and return their
Passports.

      The government has no objection to this request. Thank you for your attention and
consideration.



                                                 Sincerely,

                                                 SULLIVAN | BRILL, LLP



                                                 __________________________
                                                 By: Steven Brill
